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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF CONNECTICUT

DAVID KILEY,                     )
                                 )
      Plaintiff,                 )           Cause No.: 3:18-cv-01077-VLB
                                 )
v.                               )           JURY TRIAL DEMANDED
                                 )
THE SHERWIN-WILLIAMS COMPANY     )
A/K/A SHERWIN-WILLIAMS, INC.     )
and SHERWIN-WILLIAMS PAINT STORE )
DANBURY #5469                    )
                                 )
      Defendants.                )

              JOINT REPORT OF THE PARTIES PURSUANT TO RULE 26(f)

        Date Complaint Filed:              June 1, 2018 (Removed June 26, 2018)

        Date of Defendant’s Appearance: June 26, 2018

        Pursuant to Rule 16(b) and Rule 26(f) of the Federal Rules of Civil

Procedure and Local Rule 16, a conference was held on various days by

telephone and e-mail correspondence. The immediate participants were Patrick

Walsh for Plaintiff David Kiley and Keith Rudzik for Defendant The Sherwin-

Williams Company.

  I.    Certification

        The undersigned counsel certify that (a) they have discussed the nature

and basis of the parties' claims and defenses and any possibilities for achieving a

prompt settlement or other resolution of the case; and (b) they have developed

the following proposed case management plan. Counsel further certify that they

have forwarded a copy of this report to their clients.

 II.    Jurisdiction



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    A.       Subject Matter Jurisdiction

         This Court has subject matter jurisdiction pursuant to 28 U.S.C. Section

1332(a)(1).     First, there is complete diversity between the opposing parties.

Plaintiff was a citizen of the State of Connecticut both at the time the lawsuit was

filed in state court and when the Notice of Removal was filed with this Court.

Defendant is a corporation organized under the laws of the State of Ohio with a

principal place of business in Cleveland, Ohio. Defendant was a citizen of the

State of Ohio both at the time the lawsuit was filed in state court and when the

Notice of Removal was filed with this Court. Also, Defendant “Sherwin-Williams

Paint Store Danbury #5469” is a fictitious name and not a legal entity. Second,

the amount in controversy exceeds $75,000 based on the alleged injuries and

damages set forth in Plaintiff’s Complaint.

         Accordingly, this Court has subject matter jurisdiction based on diversity

jurisdiction under 28 U.S.C. Section 1332(a)(1).

         Plaintiff does not contest that this Court has subject matter jurisdiction.

    B.       Personal Jurisdiction

         Defendant does not contest personal jurisdiction.

 III.    Brief Description of Case

    A.       Plaintiff’s Claims

         On June 1, 2018, Plaintiff filed a personal injury lawsuit against Defendant

in the Superior Court of Danbury, Connecticut. Plaintiff alleges injuries from a

slip and fall incident in the parking lot at a commercial premises located at 2

Federal Road, Brookfield, Connecticut. Plaintiff alleges injuries to his right knee,



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left hand, and fingers. Plaintiff has incurred expenses for medical, operative, and

therapeutic treatment and may incur additional expenses for future similar

treatment.      Also, Plaintiff alleges lost wages, emotional distress, psychologic

trauma, loss of sleep, and loss of enjoyment of life’s activities. Plaintiff seeks

monetary relief.

    B.       Defendant’s Defenses and Claims

         Defendant asserts that the subject commercial premises was maintained

and kept in a reasonably safe condition and without any defects. As such,

Plaintiff cannot show that Sherwin-Williams is liable for his claimed injuries.

         Alternatively, Defendant asserts that any alleged defective or unsafe

condition was open and obvious, barring Plaintiff’s claim in whole. Similarly,

Defendant asserts that Plaintiff’s claims are barred in whole because he was fifty-

one percent or more at fault pursuant to Section 52-572(h) of the Connecticut

General Statutes.       Furthermore, Plaintiff’s alleged injuries were caused by

preexisting injuries or medical conditions and Plaintiff failed to mitigate his

damages. Last, Plaintiff’s alleged injuries were partially caused by his own acts

or omission and, therefore, fault should be proportional as allocated by the trier

of fact.

IV.      Statement of Undisputed Facts

         The undersigned counsel certify that they have made a good faith attempt

to determine whether there are any material facts that are undisputed. The

following material facts are undisputed:

         1. Plaintiff is an individual residing in the State of Connecticut.



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         2. Defendant is a corporation organized under the laws of the State of Ohio

with a principal place of business in Cleveland, Ohio.

         3. Defendant owns the commercial premises located at 2 Federal Road,

Brookfield, Connecticut.

         4. On June 6, 2016, Plaintiff purchased paint supplies at the Sherwin-

Williams Paint Store located at 2 Federal Road, Brookfield, Connecticut.

         5. Before the subject incident on June 6, 2016, Plaintiff had been a

customer and purchased paint supplies at the Sherwin-Williams Paint Store.

 V.      Case Management Plan

    A.       Initial Disclosures

         Initial disclosures will be served by September 7, 2018.

    B.       Scheduling Conference

         1. The parties request to be excused from holding a pretrial conference

with the Court before entry of a scheduling order pursuant to Rule 16(b) of the

Federal Rules of Civil Procedure.

         2. The parties prefer that a scheduling conference, if held, be conducted

by telephone.

    C.       Early Settlement Conference

         1. The parties certify that they have considered the potential benefits of

attempting to settle the case before undertaking significant discovery or motion

practice. The parties will engage in settlement negotiations in the future.

         2. The parties do not request an early settlement conference.

         3. The parties prefer a settlement conference, when such a conference is



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held, with the presiding judge or magistrate judge.

         4. The parties do not request a referral for alternative dispute resolution

pursuant to Local Rule 16.

   D.    Joinder of Parties, Amendment of Pleadings, and Motions Addressed to
the Pleadings

         The parties have discussed any perceived defects in the pleadings and

have reached the following agreements for resolution of any issues related to the

sufficiency of the pleadings:

         1. Plaintiff should be allowed until November 15, 2018, to file motions to

join additional parties and until November 30, 2018, to amend the pleadings.

Motions filed after these dates will require, in addition to any other requirements

under applicable rules, a showing of good cause for the delay.

         2. Defendant should be allowed until December 15, 2018, to file motions to

join additional parties and until December 31, 2018, to amend the pleadings.

Motions filed after these dates will require, in addition to any other requirements

under applicable rules, a showing of good cause for the delay.

    E.       Discovery

         1. Recognizing that the precise contours of the case, including the

amounts of damages at issue, if any, may not be clear at this point, in making the

proposals below concerning discovery, the parties have considered the scope of

discovery permitted under Rule 26(b)(1) of the Federal Rules of Civil Procedure.

         2. The parties anticipate that discovery will be needed on the following

subjects:

               a.   The factual basis for the allegations in the Complaint.


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               b.   The factual basis for the allegations in Defendant’s Affirmative

                    Defenses.

               c.   The circumstances surrounding the alleged slip and fall.

               d.   The condition of the subject commercial premises.

               e.   The nature and extent of injuries allegedly sustained by Plaintiff.

               f.   The nature, extent, and reasonableness of medical, operative, and

                    therapeutic treatment received by Plaintiff.

               g.   The nature and extent of lost wages, emotional distress,

                    psychologic trauma, loss of sleep, and loss of enjoyment of life

                    by Plaintiff.

               h.   The nature, extent, and reasonableness of the injuries and

                    damages allegedly sustained by Plaintiff.

        The parties reserve the right to conduct discovery based upon any

additional facts discovered during the course of litigation.          The parties also

reserve the right to make appropriate objections to any discovery requests with

respect to the above subjects or otherwise in accordance with the Federal Rules

of Civil Procedure and applicable case law.

        3. All discovery, including depositions of expert witnesses pursuant to

Rule 26(b)(4) of the Federal Rules of Civil Procedure, will commence immediately,

and will be completed by September 15, 2019.

        4. Discovery will not be conducted in formal phases.

        5. The parties anticipate that the Plaintiff will require a total of 1-4

depositions of fact witnesses and that the defendant will require a total of 1-4



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depositions of fact witnesses. The fact witness depositions will commerce as

soon as possible and be completed by the September 15, 2019 discovery

deadline.

        6. The parties do not anticipate requesting leave to serve more than 25

interrogatories.

        7. Plaintiff will designate all trial experts and provide opposing counsel

with reports from retained experts pursuant to Rule 26(a)(2) of the Federal Rules

of Civil Procedure by April 15, 2019. Depositions of any such experts will be

completed by June 30, 2019.

        8. Defendant will designate all trial experts and provide opposing counsel

with reports from retained experts pursuant to Rule 26(a)(2) of the Federal Rules

of Civil Procedure by June 30, 2019. Depositions of any such experts will be

completed by August 31, 2019.

        9. A damages analysis will be provided by any party who has a claim or

counterclaim for damages by August 15, 2019.

        10. The     undersigned   counsel   have   discussed   the   disclosure   and

preservation of electronically stored information, including, but not limited to, the

form in which such data shall be produced, search terms to be applied in

connection with the retrieval and production of such information, the location and

format of electronically stored information, appropriate steps to preserve

electronically stored information, and the allocation of costs of assembling and

producing such information. The parties will take appropriate steps to preserve

all relevant electronic information and will notify third parties to preserve all



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relevant electronic information. The parties do not anticipate significant

discovery of electronically stored information in this case and have therefore

deferred discussion of details regarding the form, management and other details

of production and associated costs. Issues not addressed by this paragraph will

be addressed as the case progresses.

        11. The undersigned counsel have discussed discovery procedures that

minimize the risk of waiver of privilege or work-product protection, including

procedures for asserting privilege claims after production. The parties agree to

the following procedures for asserting claims of privilege after production: The

parties agree to utilize Local Rule 26’s privilege log under that rule’s terms and

conditions, with exceptions noted therein, and further agree to work with each

other in good faith to avoid any discovery dispute. As soon as practicable after a

claim of privilege arises or is identified after inadvertent production of any

information or documents, the party claiming such privilege or protection shall

notify the opposing party in writing, including identification of the claimed

document(s) by bates stamp number, if any; the basis for such claim of privilege

or protection; and all other information required for a privilege log under the

applicable Rules, without waiving such privilege or protection.

        Upon receipt of written notice of the alleged inadvertent disclosure, the

receiving party, without prejudice to contesting the applicability of any claim of

privilege or attorney work product, shall immediately return all copies (electronic

and paper) of such information or documents to the producing party or otherwise

certify as to its destruction, and the receiving party shall not use such



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information or documents for any purpose. If the receiving party disclosed the

information or documents before being notified, it must take reasonable steps to

retrieve such material. If the parties are not in agreement with respect to the

claim of privilege or protection and they agree that the dispute is substantive, the

party asserting the existence of such privilege or protection shall file a motion for

protective order with the Court.

    F.       Dispositive Motions

         All dispositive motions will be filed on or before October 31, 2019.

    G.       Joint Trial Memorandum

         The joint trial memorandum will be filed within 60 days of the Court’s ruling

on any dispositive motion, or, if no such motions are filed, within 60 days of the

close of discovery.

VI.      Trial Readiness

         The case will be ready for trial within 60 days after the filing of the joint trial

memorandum.

VII.     Explanation of Delay in Filing Report

         The parties sincerely apologize for not complying with the deadlines to

confer and submit a joint report pursuant to Local Rule 26(f)(1). The deadlines

were missed due to the inadvertent mistake shared by Plaintiff and Defendant. The

parties represent to the Court that it will not happen again. Since this was an

inadvertent joint mistake, the parties respectfully submit that sanctions are not

appropriate and respectfully request that this Court not impose sanctions against

Plaintiff and/or Defendant.



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        As officers of the Court, undersigned counsel agree to cooperate with each

other and the Court to promote the just, speedy and inexpensive determination of

this action.

        DATED this 28th day of August, 2018.



                                        THE DEFENDANT,
                                        THE SHERWIN-WILLIAMS COMPANY


                                        BY   /s/ Keith R. Rudzik__

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